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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE




 JAZZ PHARMACEUTICALS, INC.,

             Plaintiff,
                                          C.A. No. 21-691-GBW
                      v.

 AVADEL CNS PHARMACEUTICALS, LLC,

             Defendant.


 JAZZ PHARMACEUTICALS, INC., et al.,

             Plaintiffs,
                                          C.A. No. 21-1138-GBW
                      v.

 AVADEL CNS PHARMACEUTICALS, LLC,

             Defendant.


 JAZZ PHARMACEUTICALS, INC., et al.,

             Plaintiffs,
                                          C.A. No. 21-1594-GBW
                      v.

 AVADEL CNS PHARMACEUTICALS, LLC,

             Defendant.



                               VERDICT FORM
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         Instructions: When answering the following questions and completing this Verdict

Form, you are to follow the directions provided and the Jury Instructions that you have been

given. Your answer to each question must be unanimous. Some of the questions contain legal

terms that are defined and explained in the Jury Instructions. Please refer to the Jury Instructions

if you are unsure about the meaning or usage of any legal term that appears in the questions

below.

         As used herein:

            1. “Plaintiff” refers to Jazz Pharmaceuticals, Inc. and Jazz Pharmaceuticals, Inc., et.

                al.

            2. “Avadel” refers to Avadel CNS Pharmaceuticals, LLC.

            3. The “’488 Patent” refers to U.S. Patent No. 10,758,488.

            4. The “’782 Patent” refers to U.S. Patent No. 11,147,782.

            5. The “Asserted Patents” or the “Patents-in-Suit” refers collectively to the ’488

                Patent and the ’782 Patent.




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                               QUESTIONS AND ANSWERS

We, the jury, unanimously find as follows.

QUESTION NO 1:

        Did Jazz prove by a preponderance of the evidence that Avadel’s LUMRYZ product
infringes any of the following claims of the ’488 Patent?

If you find Jazz proved by a preponderance of the evidence that LUMRYZ infringes a
claim, place a check mark next to “Yes” for that claim.

        ’488 Patent
        Claim 7       Yes __________ (for Jazz)    No __________ (for Avadel)
        Claim 11      Yes __________ (for Jazz)    No __________ (for Avadel)




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QUESTION NO 2:

        For each claim listed below, did Avadel prove by clear and convincing evidence that the
claim is invalid for lack of sufficient written description?

       If you find a claim invalid for lack of written description, answer “Yes,” otherwise,
       answer “No.”

         ’488 Patent
        Claim 7        Yes __________ (for Avadel)     No __________ (for Jazz)
        Claim 11       Yes __________ (for Avadel)     No __________ (for Jazz)
        ’782 Patent
        Claim 24       Yes __________ (for Avadel)     No __________ (for Jazz)




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QUESTION NO 3:

        For each claim listed below, did Avadel prove by clear and convincing evidence that the
claim is invalid for lack of enablement?

       If you find a claim invalid for lack of enablement, answer “Yes,” otherwise, answer
       “No.”

        ’488 Patent
        Claim 7       Yes __________ (for Avadel)      No __________ (for Jazz)
        Claim 11      Yes __________ (for Avadel)      No __________ (for Jazz)
        ’782 Patent
        Claim 24      Yes __________ (for Avadel)      No __________ (for Jazz)




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QUESTION NO 4:

        For each patent listed below, did Avadel prove by clear and convincing evidence that the
patent is invalid for failure to name the correct inventors? You should answer as to each patent
listed below.

       If you find the patent invalid for failure to name the correct inventors, answer
       “Yes,” otherwise, answer “No.”

        ’488 Patent:    Yes __________ (for Avadel)       No __________ (for Jazz)
        ’782 Patent:    Yes __________ (for Avadel)       No __________ (for Jazz)




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QUESTION NO 5:

       Did Avadel prove by clear and convincing evidence that the ’488 patent is invalid
because it is derived from someone other than the presently named inventors?

       If you find the patent invalid because it is derived from someone other than the
       presently named inventors, answer “Yes,” otherwise, answer “No.”

        ’488 Patent:    Yes __________ (for Avadel)      No __________ (for Jazz)




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ANSWER QUESTION 6 ONLY IF YOU HAVE FOUND ONE OR MORE OF THE
ASSERTED CLAIMS TO BE INFRINGED AND VALID (NO TO EACH OF QUESTIONS 2-
5 FOR THAT ASSERTED PATENT AND/OR CLAIM).

QUESTION NO 6:

What is the total amount of damages as a reasonable royalty that Jazz has proven by a
preponderance of the evidence based on a hypothetical negotiation between Jazz and Avadel?

Royalty Rate: ___________%
Total Amount for Past Infringement Based on Royalty Rate: $_____________



                                         *       *       *

Please proceed to the last page, sign and date the verdict form, and return it to the court clerk.




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                                 UNANIMOUS VERDICT
     UPON REACHING A UNANIMOUS VERDICT ON EACH QUESTION ABOVE,
EACH JUROR MUST SIGN BELOW.
       We, the jury, unanimously agree to the answers to the above questions and return them
under the instructions of this Court as our verdict in this case.




       Dated: ________________




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